Case 1:19-cr-10080-LTS Document 2719-7 Filed 08/15/23 Page 1 of 2




         EXHIBIT 7
                  Case 1:19-cr-10080-LTS Document 2719-7 Filed 08/15/23 Page 2 of 2
From:                    Jack Bowen <jbowen@menloschool.org>
To:                      ALICIA Hammarskjold <achammarskjold@gmail.com>;Philip Hammarskjold
                         <philip@hf.com>;Ryan Hammarskjold <ryan.hammarskjold@menloschool.org>;John Wilson
                         <john.wilson@menloschool.org> ;John Wilson <johnd.wilson@menloschool.org> ;Alice Wilson
                         <aadevine@sbcglobal.net>; Leslie Wilson <leslie@leslieqwilson.com> ;John Wilson
                         <john@hyannisportcapital.com>;John Wilson <johnw@webcor.com>
Sent:                    12/4/2013 10:36:06 AM
Subject:                 CCS Senior All-Star Game!



Dear John, Ryan, & Johnny,

At last night's CCS Coaches meeting, you three were selected for the CCS All Star Game on the Division II Team.

The game is at Gunn High School at 11:30 and you should arrive by 10:30. Johnny, I know you're likely still out
this week so no pressure: I wanted to let you know, regardless.

Congrats, you three: it was fun listening to coaches talk about you last night. I hope you have a little fun at this
game.

Looking forward, there is a CCS/NCS All Star Game on the 14th at SHP at 10:00--the CCS team will be selected
from this Saturday's game and announced then.

See you Saturday.

Best,
Jack




                                                                                                   USAO-VB-01597383
                                                    EX. 7959 p. 1 of 1
